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10
11                                UNITED STATES DISTRICT COURT
12                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
13

14   INTUS CARE, INC.,                                Case No:    4:24-cv-01132-JST
15                  Plaintiff,                        Assigned to: Hon. Jon S. Tigar
16           vs.                                      DECLARATION OF DAVID C. LEE IN
                                                      SUPPORT OF INTUS CARE INC.’S
17   RTZ ASSOCIATES, INC.; and DOES 1                 ADMINISTRATIVE MOTION TO
     through 10,                                      CONSIDER WHETHER ANOTHER
18                                                    PARTY’S MATERIAL SHOULD BE
                    Defendants,                       SEALED
19

20                                                    Date: June 26, 2025
                                                      Time: 2:00 p.m.
21
                                                      Courtroom: 6
22
                                                      Complaint Filed: February 23, 2024
23                                                    Amended Complaint Filed: April 2, 2024
                                                      Counterclaims Filed: June 20, 2024
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                                                                         4:24-cv-01132-JST
         DECLARATION OF DAVID C. LEE IN SUPPORT OF INTUS CARE INC.’S ADMINISTRATIVE
         MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
     63468226.v1
     Case 4:24-cv-01132-JST            Document 66        Filed 05/05/25      Page 2 of 2



 1                                  DECLARATION OF DAVID C. LEE

 2           I, David C. Lee, declare as follows:

 3           1.        I am an attorney at law admitted to practice in this Court, and a partner of
 4   Nossaman LLP, counsel of record in this action for Defendant RTZ Associates, Inc. (“RTZ”). I

 5   make this declaration in support of Intus Care, Inc.’s (“Intus”) Administrative Motion to

 6   Consider Whether Another Party’s Material Should be Sealed. I have personal knowledge of the
 7   facts set forth in this declaration and if called as a witness, I could and would completely testify

 8   to those facts.

 9           2.        Portions of Intus’ Motion for Partial Summary Judgment (“Motion”) contain

10   confidential and proprietary information about RTZ’s business relationships with its clients.
11   Specifically, Exhibits 5-8 in support of Intus’ Motion are contracts governing the access and use

12   of RTZ's PACECare software. RTZ has designated Exhibits 5-8 as “HIGHLY CONFIDENTIAL

13   – ATTORNEY’S EYES ONLY” pursuant to the Stipulated Protective Order in this case. (Dkt.

14   No. 44.)
15           3.        The sensitive business information contained in these exhibits and used in

16   portions of Intus’ Motion could cause significant competitive harm to RTZ if disclosed to the

17   public. The ‘compelling reasons’ standard for sealing materials “is met for confidential business
18   information that would harm a party’s competitive standing.” Skillz Platform Inc. v. AviaGames

19   Inc., No. 21-CV-02436-BLF, 2023 WL 7928746, at *3 (N.D. Cal. Nov. 16, 2023) (citing cases).

20   There is no less restrictive alternative to sealing the information that would protect the

21   confidentiality interests at issue.
22           I declare under penalty of perjury, under the laws of the United States of America, that

23   the foregoing is true and correct.

24

25           Dated this 5th day of May 2025 in San Francisco, California.
26

27
                                                             DAVID C. LEE
28
                                             -2-
      DECLARATION OF DAVID C. LEE IN SUPPORT OF INTUS CARE INC.’S ADMINISTRATIVE MOTION
            TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
     63468226.v1
